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              Plaintiff Exhibit 1
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                                                                       Plaintiff Exhibit 1
Case 9:24-ap-01027-RC     Doc 1-1 Filed 09/03/24 Entered 09/03/24 15:17:05   Desc
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                                                                       Plaintiff Exhibit 1
Case 9:24-ap-01027-RC     Doc 1-1 Filed 09/03/24 Entered 09/03/24 15:17:05   Desc
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                                                                       Plaintiff Exhibit 1
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                                                                       Plaintiff Exhibit 1
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                                                                       Plaintiff Exhibit 1
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                                                                       Plaintiff Exhibit 1
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                                                                       Plaintiff Exhibit 1
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                                                                   Plaintiff Exhibit 1
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                                                                   Plaintiff Exhibit 1
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                                                                   Plaintiff Exhibit 1
